                                                                              FILED
                                                                            FEB 1 9 2021
                    UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                        No.   5··2l-W.-0o- \ D
UNITED STATES OF AMERICA              )
                                      )
             v.                       )     CRIMINAL INFORMATION
                                      )
JASMINE SHYANN FREDERICK              )



      The United States Attorney charges that:

                                   Introduction

      1.     The United States Postal Service ("USPS") insured Priority Mail

packages up to $50.00 or $100.00 against loss, damage, and missing contents for no

additional fee, subject to certain conditions. To qualify for payment, the customer

had to file a claim for their damaged and missing items no later than 60 days from

the date of mailing. The claims could be filed by mail or online. To complete the

claim, the customer had to submit proof of the cost or value of the damaged or lost

item ("POV').

      2.     An Online Insurance Claim ("OIC'') was submitted via the USPS.com

website, which required the customer to create an USPS.com account. To file a

complete OIC, the customer had to submit the parcel tracking number, the shipping

date, the reason for the claim, and the POV. The customer also had to indicate

whether they were the mailer or addressee. Upon submission of an OIC, the customer

had to certify the accuracy and truthfulness of the information provided as well as



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the POV. Upon processing the OIC, USPS issued the customer a check in the amount

of $50.00 or $100.00 to cover the cost of their damaged or lost item. The OIC server

was located in Eagan, Minnesota. USPS printed and mailed the checks from Topeka,

Kansas.

                               The Scheme to Defraud

      3.      Beginning in or around December 2017, and continuing through in or

around July 2019, in the Eastern District of North Carolina and elsewhere, the

Defendant, JASMINE SHYANN FREDERICK, devised and intended to devise a

scheme and artifice to defraud, and to obtain money and property from the USPS by

means of materially false and fraudulent pretenses, representations, and promises.

Specifically, FREDERICK enriched herself by submitti:i;ig, and causing to be

submitted, hundreds of false insurance claims for Priority Mail packages shipped by

the USPS.

      4.      It was part of the scheme and artifice to defraud that FREDERICK used

USPS.com accounts in her name and in the name of her sister, L.F., to file false OICs.

FREDERICK often submitted the false claims from her Raleigh home.

      5.      It was further part of the scheme and artifice to defraud that

FEDERICK filed the false OICs by using valid USPS Priority Mail tracking numbers

she obtained from an online source, entering address information she obtained from

Zillow, and uploading stock pictures of alleged merchandise as her POV.

FREDERICK then certified the validity of the OICs although she knew the claims

were false.



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       6.     It was further part of the scheme and artifice to defraud that USPS

mailed the claims checks to FREDERICK's Raleigh home using the U.S. Mail.

FREDERICK deposited the USPS claim checks issued in her name into her State

Employee's Credit Union ("SECU") account ending in 3141. The USPS claim checks

issued in L.F.'s name were cashed using L.F.'s SECU accounts ending in 8325 and

5456. Additional USPS claim checks were also cashed at Navy Federal Credit Union

as well as Branch Banking and Trust Company. During the scheme, FREDERICK

and L.F. negotiated approximately $38,614.74 in USPS claim checks.

                                        COUNT ONE

      7.      Paragraphs 1 through 6 are re-alleged and incorporated herein as

though fully set forth in this count.


      8.      On or about June 14, 2019, in the Eastern District of North Carolina

and elsewhere, for the purpose of executing the aforesaid scheme and artifice to

defraud, the Defendant, JASMINE SHYANN FREDERICK, did knowingly place and

cause to be placed in any post office and authorized depository for mail matter, any

matter or thing whatever, to be seri.t and delivered by the United States Postal Service

and private and commercial interstate carrier, a USPS claim check.


      Specifically, Defendant JASMINE SHYANN FREDERICK caused the USPS

to place in the mail a $100.00 Priority Mail claim check ending in 9156 that was

issued as a result of FREDERICK's false and fraudulent OIC Number 6180174,

submitted on or about June 11, 2019, in the name of K.T., and mailed to




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 FREDERICK's Raleigh, North Carolina, address. FREDERICK deposited the check

 into her SECU account ending in 3141 on or about June 26, 2019.


        All in violation of Title 18, United States Code, Section 1341.


                                  FORFEITURE NOTICE
        Upon conviction of the offense set forth in this Criminal Information, the

 defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

 Section 981(a)(l)(C), as made applicable by Title 28, United States Code, Section

 246l(c), any property constituting, or derived from, proceeds obtained directly or

· indirectly as a result of such violations.

        The forfeitable property includes, but is not limited to, the gross proceeds of

 the offense described above which were actually obtained by the defendant in the

 amount of at least thirty-eight thousand six hundred and fourteen dollars and

 seventy-four cents ($38,614.74) in U.S. currency.

        If any of the above-described forfeitable property, as a result of any act or

 omission of the defendant,

        (1) cannot be located upon the exercise of due diligence;

        (2) has been transferred or sold to, or deposited with, a third person;

        (3) has been placed beyond the jurisdiction of the court;

        (4) has been substantially diminished in value; or

        (5) has been commingled with other property which cannot_ be subdivided

 without difficulty;




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it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the above forfeitable property.



                                  ROBERTJ.




                                  TAMI
                                  Special Assis an
                                  Criminal Division




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